Case 1:04-cv-01344-.]DT-STA Document 30 Filed 04/18/05 Page 1 of 2 Page|D 19

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IN THE UNITED sTATEs DISTRICT COURT §§ D.C
FOR THE WESTERN DISTRICT 0F TENNESSEE 05 ApR ,8
EASTERN DIVISION PH l = 21

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Nat Barkley, as Next Friend
of Hadie Alsup, an incapacitated person,

Plaintiff,

No. 04-1344-T/An
Jury Demanded

V.

Kindred Healthcare, Inc.; Kindred Nursing
Centers Limited Partnership d/b/a Pine
Meadows Healthcare and Rehabilitation
Center; Kindred Healthcare Services, Inc.;
Kindred Healthcare Operating, Inc., and
Larry W. Shrader, in his capacity as
Administrator of Pine Meadows Healthcare
and Rehabilitation Center

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Defendants.

 

` § ORDER REGARDING PLAINTIFF’S MOTION FOR LEAVE TO FILE
KL`PLY TO DEFEN DANTS’ RESPONSE TO PLAINTIFF’S MOTION TO REMAND

 

IT IS HER_EBY ORDERED that Plaintiff'S Motion for Leave to File Reply'Brief to

Defendants’ Response to Plaintiff’s Motion to Remand is granted

Dated at Jackson, Tennessee this 28 day of w , 2005.

QWWL.M

JUDGF§AMES 1). TODD

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with Rule 58 andior 79 (a) FRCP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 1:04-CV-01344 Was distributed by faX, mail, or direct printing on
April 20, 2005 to the parties listcd.

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Honorable J ames Todd
US DISTRICT COURT

